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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                            UNITED STATES DISTRICT COURT                                April 02, 2019
                             SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                                 HOUSTON DIVISION

COUNTY OF HARDIN,                               §
                                                §
        Plaintiff,                              §
VS.                                             §   CIVIL ACTION NO. 4:19-CV-00114
                                                §
ENDO HEALTH SOLUTIONS, INC., et al,             §
                                                §
        Defendants.                             §

                                            ORDER

       Having considered the plaintiff, County of Hardin’s Motion to Reconsider Order Denying

Remand (Dkt. No. 10), the defendants’, Endo Health Solutions Inc. and Endo Pharmaceuticals

Inc.’s Opposition to the motion, and all replies, exhibits, and arguments of counsel thereto, the

Court hereby DENIES the Motion for Reconsideration.

       It is so ORDERED.

       SIGNED on this 2nd day of April, 2019.


                                                ___________________________________
                                                Kenneth M. Hoyt
                                                United States District Judge




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